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                          fN THE UNITED STATES DISTRJCT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                             )
                                                   )
HIGHLAND CA PITAL MANAGEMENT, L.P., )                   Case No. 19-34054-SGJ-1 1
                                    )
                 Debtor(s).         )

                                                 ***
HI GHLAND CA PITAL MANAGEMENT, L.P., )
                                                    )
                        Plaintiff(s),               )
                                                    )
V.                                                  )
                                                    )   Adversary No. 2 1-03005-SGJ
                                                    )
NEXPOINT ADV ISORS, L.P.,                           )
                                                    )
                        Defendant(s).               )   Civil Action No. 3 :2 l-CV-0880-C

                                               ORDER

         CAME BEFORE THIS COURT FOR CON SIDERATION the Report and

Recommendation, signed by the Honorable Stacey G. C. Jernigan, United States Bankruptcy

Judge, therein recommending that the District Court: (1) grant Defendant' s Motion to Withdraw

the Reference at such time as the Bankruptcy Court certifies that litigation is trial-ready; and
                                                                          1
(2) defer to the Bankruptcy Court the handling of all pretrial matters.

         After due consideration and having conducted a de nova review, the Court finds that

Defendant's limited objections should be OVERRULED. Furthermore, after reviewing the

thorough and well-reasoned Report and Recommendation, the Court is of the opinion that the




         1
        O n July 22, 202 1, Defendant Nexpoint Advisors, L.P. fi led limited objections to the Report and
 Recommendation.
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Report and Recommendation entered by the Bankruptcy Court should be ADOPTED as the

findings and conclusions of this Court.

         IT IS THEREFORE ORDERED that Defendant' s Motion to Withdraw Reference shall

be granted, but only at such time as the Bankruptcy Court certifies to this Court that the litigation

is trial-ready.

         IT IS FURTHER ORDERED that the Bankruptcy Court shall handle all pretrial

matters, including discovery and the filing of reports and recommendations on dispositive

motions, which shall in turn be considered by the undersigned Senior United States District

Judge.

         IT IS FURTHER ORDERED that this civil action be STAYED pending further Order

of the Court. 2

         SO ORDERED.

         Dated July ,lS   , 2021.




         2The stay imposed in this civil action shall be lifted upon the filing of a subsequent report and
recommendation or at such time as the Bankruptcy Court certifies to this Court that the litigation is
trial-ready.

                                                      2
